oS Oo SY DN OW BPW NY

NY NYO NY NH NY NY NY NN NO YH Re RFF Fe eRe Re RS
Oot N A BPW NY KH COD OO HAND HA BPW NY KF OC

 

 

Case 2:17-cr-00290-RSL Document 28 Filed 11/16/18 Page 1of 3

The Honorable Robert S. Lasnik

——FILED =—___ENTERED
——l00GED 9 ____eceiven

NOV 16 2018
cout

SEATTLE
ay MTT Oy
DEPUTY
UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

UNITED STATES OF AMERICA, No. CR17-0290RSL

Plaintiff,

Vv. MOTION TO DISMISS

GHULAM JIWANI,

Defendant.

 

Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, the United
States Attorney for the Western District of Washington hereby requests dismissal of the
charges against Defendant Ghulam Jiwani.
//
//
//

UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220
SEATTLE, WASHINGTON 98101
(206) 553-7970

MOTION TO DISMISS/JIWANI (No. CR17-0290RSL) - 1
So mH ND On BP WY NHN =

DO NO bw NY WN NY NH HN NO HR KF FP HF KF FP OF OF OS eR
oOo aD DN ON BP WD NY KH OD OO Dm KH A FP WHO YN KK CO

 

 

Case 2:17-cr-00290-RSL Document 28 Filed 11/16/18 Page 2 of 3

Following the filing of charges against him, Jiwani was arrested in Hong Kong.

Jiwani waived extradition, but died prior to being transferred to United States custody.

As a result, the charges against Jiwani should be dismissed.

DATED: this 16" day of November, 2018.

MOTION TO DISMISS/JIWANI (No. CR17-0290RSL) - 2

Respectfully submitted,

ANNETTE L. HAYES
United States Attorney

—/s/ Andrew C. Friedman

ANDREW C. FRIEDMAN
FRANCIS FRANZE-NAKAMURA
Assistant United States Attorneys

700 Stewart Street, Suite 5220

Seattle, Washington 98101-1271

Telephone: (206) 553-0755

Fax: (206) 553-0882

E-mail: Andrew.Friedman@usdoj.gov
Francis.Franze-Nakamura@usdo}].gov

/s/ Anthony Teelucksingh
ANTHONY TEELUCKSINGH
Trial Attorney

1301 New York Avenue, N.W.

Computer Crime & Intellectual Property Section
United States Department of Justice
Washington, DC 20530

Telephone: (202) 353-4779

E-mail: Anthony.Teelucksingh@usdoj.gov

UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220
SEATTLE, WASHINGTON 98101
(206) 553-7970
0 me YT HN On BP WD NO

ND NO WN NH ND NH NO N NO HH =| | HF | YF FEF FEF ES
nH NAY NWN NA BP WD NO KF CO OBO Wn DH Hn BR WY NY KF CO

 

 

Case 2:17-cr-00290-RSL Document 28 Filed 11/16/18 Page 3 of 3

The Honorable Robert S. Lasnik

UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

UNITED STATES OF AMERICA,
Plaintiff,

Vv.

GHULAM JIWANI,

Defendant.

No. CR17-0290RSL

(PROPOSED)
ORDER

 

 

The Court having considered the Government’s Motion to Dismiss, leave of the

Court is granted to dismiss the charges against Ghulam Jiwani, and the charges against

Jiwani (but not his codefendant) are hereby DISMISSED without prejudice.

DATED: this

Presented by:
/s/ Andrew C. Friedman

ANDREW C. FRIEDMAN
Assistant United States Attorney

ORDER/JIWANI (No. CR17-0290RSL) - 1

day of November, 2018.

 

ROBERT S. LASNIK
United States District Judge

UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220
SEATTLE, WASHINGTON 98101
(206) 553-7970
